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                                    Document 1
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                                   UNITED STATES COURT OF APPEALS
                                              FOR THE FOURTH CIRCUIT
                                    Lewis F. Powell, Jr. United States Courthouse Annex
                                              1100 E. Main Street, Suite 501
                                             Richmond, Virginia 23219-3517

    Patricia S. Connor                            www.ca4.uscourts.gov                      Telephone
           Clerk                                                                          (804) 916-2700




                                            January 25, 2007

              Deborah A. Johnston, Esq.
              OFFICE OF THE U. S. ATTORNEY
              Suite 400
              6500 Cherrywood Lane
              Greenbelt, MD 20770


              Bonnie S. Greenberg, Esq.
              OFFICE OF THE U. S. ATTORNEY
              4th Floor
              36 South Charles Street
              Baltimore, MD 21201


              Peter Dennis Ward, Esq.
              LAW OFFICE OF PETER D. WARD
              Suite 105
              300 Allegheny Avenue
              Baltimore, MD 21204


              Gregory Bruce English, Esq.
              ENGLISH & SMITH
              Suite 213
              Courthouse Square
              526 King Street
              Alexandria, VA 22314


              Fred Warren Bennett, Esq.
              BENNETT & BAIR, LLP
              Suite 419
              6301 Ivy Lane
              Greenbelt, MD 20770


              Roland Walker, Esq.
              ROLAND WALKER, MARK ZAYON & ASSOCIATES, PA
              Suite 306
              Court Square Building
              200 East Lexington Street
              Baltimore, MD 21202


              Anthony Douglas Martin, Esq.
              ANTHONY D. MARTIN, PC
              7841 Belle Point Drive
              Greenbelt, MD 20770
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          Michael Daniel Montemarano, Esq.
          MICHAEL D. MONTEMARANO, PA
          Suite 201
          5695 Main Street
          Elkridge, MD 21075


          Harry D. McKnett, Esq.
          Suite 241
          5430 Lynx Lane
          Columbia, MD 21044


          Marc Gregory Hall, Esq.
          MCCALLY & HALL
          Suite 214
          20 Courthouse Square
          Rockville, MD 20850


          Timothy S. Mitchell, Esq.
          LAW OFFICES OF TIMOTHY S. MITCHELL
          Suite 700
          6301 Ivy Lane
          Greenbelt, MD 20770



                Re: 07-4115 US v. Dobie
                            8:04-cr-00235-RWT

                    06-4391 US v. Donna C. Johnson
                           8:04-cr-00235-RWT

                    06-4392 US v. John A. Martin
                           8:04-cr-00235-RWT

                    06-4527 US v. Craig Arnold Scott
                           8:04-cr-00235-RWT

                    07-4059 US v. Learley R. Goodwin
                           8:04-cr-00235-RWT

                    07-4060 US v. Paulette Martin
                           8:04-cr-00235-RWT

                    07-4062 US v. Lanora N. Ali
                           8:04-cr-00235-RWT

                    07-4063 US v. Reece C. Whiting
                           8:04-cr-00235-RWT

                    07-4080 US v. Derrek L. Bynum
                           8:04-cr-00235-RWT
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          Dear Counsel:

               Appeal number 07-4115 was docketed in this Court on 1/25/07,
          pursuant to Rule 12(a) of the Federal Rules of Appellate Procedure.
          This case has been consolidated with no. 06-4391 which was docketed on
          4/19/06. The lead case number should be placed on all papers sub-
          sequently submitted to this Court.

               Appellants must file the docketing statement with the required
          attachments in the office of the clerk, within 14 days of filing
          of the notice of appeal. Counsel proceeding under the Criminal Justic
          Act, excluding Federal Public Defenders, must attach a copy of the
          CJA 24 Form submitted to the District Court to this Court's copy of
          the transcript order.

               The following forms are enclosed and must be completed and
          returned to this office within 14 days of the date of this letter:

                (1)     Counsel of Record form
                (2)     Admission and Registration Forms (to anyone not listed
                        on attorney roll)

               A counsel of record form should be filed by at least one attorney
          for each party represented by counsel. To eliminate unnecessary
          paperwork, correspondence will be sent only to attorneys who file
          their counsel of record form within 14 days of the date of this
          letter. All other attorneys' names will be removed from this appeal,
          and no further correspondence will be transmitted to them.

               Counsel are responsible for assuring that all documents are
          timely filed by actual receipt in the appropriate clerk's office.
          Noncompliance with jurisdictional deadlines will prevent the Court
          from considering an appeal. Failure to meet other deadlines may
          result in dismissal for failure to prosecute or in imposition of
          sanctions. See Local Rules 45, 46(g). If you would like a file-
          stamped copy of your document returned to you, please include an
          extra copy and a self-addressed, stamped envelope.

               Also enclosed is a copy of an order consolidating these appeals
          for purposes of briefing, preparation of the appendix and oral
          argument. A briefing schedule will be established and forwarded to
          the parties upon receipt of certification that the record is
          complete or upon determination by the clerk of the court of appeals
          that no hearing was held, that no transcript is necessary, or that
          the transcript is already on file.

               In order to protect personal information, parties must par-
          tially redact social security numbers, dates of birth, financial
          account numbers, names of minor children and (in criminal cases)
          home addresses in documents filed with this Court. Dockets,
          opinions, rules, forms, and the Court calendar can be obtained
          from the Court's Website, www.ca4.uscourts.gov.
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               If you desire to inquire about your case by telephone, please
          contact me directly by dialing (804) 916-2704.




                                          Yours truly,

                                          PATRICIA S. CONNOR
                                                Clerk


                                            /s/ Sharon A. Wiley
                                          By: ________________________
                                               Deputy Clerk
